        Case: 1:21-cr-00698 Document #: 18 Filed: 12/02/21 Page 1 of 1 PageID #:82
* FOR INITIAL APPEARANCE ONLY
FILED 12/2/2021
Judge Harjani   U.S. District Court for the Northern District Of Illinois
                              Attorney Appearance Form


   Case Title: U.S. v. Ronald Molo                            Case Number: 21 CR 698


   An appearance is hereby filed by the undersigned as attorney for:
   Ronald Molo
   Attorney name (type or print): Jasmine J. Johnson

   Firm: Federal Defender Program

   Street address: 55 E. Monroe Street, Suite 2800

   City/State/Zip: Chicago, IL 60603

   Bar ID Number: IL 6325273                                  Telephone Number: (312) 621-8348
   (See item 3 in instructions)

   Email Address: jasmine_johnson@fd.org

   Are you acting as lead counsel in this case?                                    ✔ Yes              No

   Are you acting as local counsel in this case?                                        Yes       ✔ No
   Are you a member of the court’s trial bar?                                      ✔ Yes              No

   If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

   If this is a criminal case, check your status.                        Retained Counsel

                                                                   ✔ Appointed Counsel
                                                                         If appointed counsel, are you
                                                                         a
                                                                         ✔ Federal Defender
                                                 CJA Panel Attorney
   ______________________________________________________________________
   In order to appear before this Court an attorney must either be a member in good standing of this Court’s
   general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
   I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
   statement under perjury has the same force and effect as a sworn statement made under oath.

   Executed on 12/02/2021

   Attorney signature:            S/ Jasmine J. Johnson
                                  (Use electronic signature if the appearance form is filed electronically.)
                                                                                                  Revised 8/1/2015
